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                               EXHIBIT B

                        Time and Expense Detail




6870105.1
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                                  230 PARK AVENUE
                               NEW YORK, NY 10169-0075




                                                                 February 15, 2022
Client/Matter No.:     93174/0001                                  BILL NO. 221615
Matter Name:           LTL MANAGEMENT
Billing Partner:       RL STEHL

For Services Rendered Through January 31, 2022:



Phase: 23                                                 Plan of Reorganization


  DATE
ATTORNEY    DESCRIPTION                                  HOURS                AMOUNT

01/11/22    Review Documents                               .30                103.50
  JKH       Review motion to extend exclusive periods


01/13/22    Examine Documents                              .40                376.00
  JSF       Review of Debtor's Motion to Extend
            Exclusivity


01/13/22    Examine Documents                              .20                172.00
   JB       Review motiomn to extend exclusive periods
            and assess response


01/25/22    Examine Documents                              .20                172.00
   JB       Order extending time on extension of time
            to file plan


01/26/22    Examine Documents                              .20                188.00
  JSF       Review of A&I Reservation of Rights re:
            Exclusivity Motion



TOTAL PHASE 23                                            1.30              $1,011.50


Phase: 27                               Investigation/Asset Analysis & Recovery
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  DATE
ATTORNEY   DESCRIPTION                                   HOURS                 AMOUNT

01/03/22   Review Documents                               1.30               1,911.00
  MLC      Review of revisions to draft objection to
           examiner motion


01/03/22   Review/correct Opposing brief for motion        .50                 522.50
  ACS      Review revised draft objection to examiner
           motion and e-mail comments to K Barrett


01/04/22   Examine Documents                              1.10               1,034.00
  JSF      Review of Next Steps


01/07/22   Review/correct Correspondence                   .30                 313.50
  ACS      Review and comment current status updates
           and e-mails to/from BR re same


01/07/22   Review/correct Correspondence                   .50                 522.50
  ACS      Edit current status update and circulate to
           BR and Otterbourg teams


01/08/22   Review Documents                               2.30               3,381.00
  MLC      Review of analysis of underlying
           conditions


01/09/22   Review Documents                               2.10               3,087.00
  MLC      Review of analysis of underlying
           conditions



TOTAL PHASE 27                                            8.10              $10,771.50
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Phase: 29                                                     Committee Meetings


  DATE
ATTORNEY    DESCRIPTION                                   HOURS               AMOUNT

01/03/22    Telephone Call(s)                              .60                564.00
  JSF       Participate in Conference Call with
            Co-Counsel and Committee Reps


01/03/22    Telephone Call(s)                              .10                147.00
  MLC       Telephone call with D. Molton re:
            preparation for calls with EC


01/03/22    Conference call(s)                             .50                735.00
  MLC       Meeting with TCC 1 re: various open pending
            matters


01/03/22    Correspondence                                 .30                441.00
  MLC       Correspondence with EC and counsel re
            claims analysis


01/03/22    Telephone Call(s) w/CoCounsel - Other          .70                731.50
  ACS       Zoom meet with TCC 1 Co counsel and
            Committee reps


01/04/22    Telephone Call(s)                              .70                658.00
  JSF       Participate in Conference Call with
            Executive Committee and Co-Counsel


01/04/22    Telephone Call(s)                             1.90              1,786.00
  JSF       Participate in Meeting with Committee
            Representatives
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  DATE
ATTORNEY   DESCRIPTION                                   HOURS                AMOUNT

01/04/22   Correspondence                                  .60                882.00
  MLC      Correspondence with EC and counsel re:
           claims analysis


01/04/22   Telephone Call(s)                               .20                294.00
  MLC      Telephone call with D. Molton re: follow up
           discussions re: case status


01/04/22   Correspondence                                  .50                735.00
  MLC      Correspondence with EC and counsel re:
           preliminary injunction hearing and next
           steps


01/04/22   Examine Documents                              2.00              2,940.00
  MLC      Slide presentation by Co-Leads re:
           analysis of case


01/04/22   Telephone Call(s) w/CoCounsel - Other           .90                940.50
  ACS      Zoom with Committee 1 EC and Co-counsel


01/04/22   Telephone Call(s) w/CoCounsel - Other           .50                522.50
  ACS      Telecon TCC 1 Co-counsel


01/04/22   Telephone Call(s) w/CoCounsel - Other          2.00              2,090.00
  ACS      Zoom with TCC1 Co-counsel and Committee
           reps


01/05/22   Telephone Call(s)                               .70                658.00
  JSF      Participate in Pre-Call with Co-Counsel -
           Preparation for Committee Meeting
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  DATE
ATTORNEY   DESCRIPTION                                    HOURS               AMOUNT

01/05/22   Telephone Call(s)                              2.10              1,974.00
  JSF      Participate in Meeting with Committee
           Representatives


01/05/22   Conference call(s)                             1.00              1,470.00
  MLC      Conference call meeting with co-counsel to
           prepare for meeting with TCC I


01/05/22   Conference call(s)                             2.30              3,381.00
  MLC      Conference call meeting with TCC I


01/05/22   Conference call(s)                              .60                882.00
  MLC      Conference call with Stark and Beville re
           next steps


01/05/22   Telephone Call(s) w/CoCounsel - Other           .80                836.00
  ACS      Zoom meet of TCC1 Co-counsel


01/05/22   Telephone Call(s) w/CoCounsel - Other          2.10              2,194.50
  ACS      Zoom meet with TCC 1 Committee Co-counsel
           and reps


01/06/22   Conference call(s)                             2.80              4,116.00
  MLC      Meeting with TCC I


01/07/22   Telephone Call(s)                              1.80              1,692.00
  JSF      Participate in Committee Meeting re: Next
           Steps and Consultants
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  DATE
ATTORNEY   DESCRIPTION                                    HOURS               AMOUNT

01/07/22   Conference call(s)                             1.40              2,058.00
  MLC      Meeting with TCC I


01/10/22   Telephone Call(s)                              2.00              1,880.00
  JSF      Participate in Meeting with Member
           Representatives


01/10/22   Conference call(s)                             2.00              2,940.00
  MLC      TCC 1 meeting re consideration of current
           matters


01/10/22   Telephone Call(s) w/CoCounsel - Other          2.00              2,090.00
  ACS      Zoom meeting among TCC1 Committee reps and
           co-counsel


01/12/22   Conference out of Office                       5.20              4,888.00
  JSF      Meeting at Brown Rudnick with Member
           Representatives


01/12/22   Revision of Documents                           .30                441.00
  MLC      Revise materials for TCC I committee
           meeting


01/12/22   Conference call(s)                              .60                882.00
  MLC      Meeting with TCC I to prepare for strategic
           meeting


01/12/22   Conference call(s)                             3.10              4,557.00
  MLC      Strategy meeting with TCC I committee and
           leadership
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  DATE
ATTORNEY   DESCRIPTION                                   HOURS                AMOUNT

01/12/22   Conference call(s)                             1.60              2,352.00
  MLC      Continued meeting with TCC I to prepare for
           PI and other hearings


01/12/22   Telephone Call(s) w/CoCounsel - Other          1.30              1,358.50
  ACS      Zoom meeting with TCC1 Co-counsel and
           Committee reps


01/12/22   Telephone Call(s)                              2.50              1,187.50
  MRM      Participate in Committee counsel and
           representative meeting regarding:
           strategy/next steps


01/12/22   Telephone Call(s)                              1.50                712.50
  MRM      Participate in Zoom conference call with
           Committee counsel re: PI strategy/next
           steps


01/13/22   Telephone Call(s)                              1.20              1,128.00
  JSF      Participate in Meeting of Committee
           Members


01/13/22   Conference call(s)                             1.10              1,617.00
  MLC      Meeting with committee members including
           two newly added members


01/13/22   Preparation for Conference                      .50                735.00
  MLC      Prepared for meeting with committee
           members
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ATTORNEY   DESCRIPTION                                   HOURS                AMOUNT

01/13/22   Telephone Call(s) w/CoCounsel - Other          1.20              1,254.00
  ACS      Zoom committee meeting of TCC 1 Co-counsel,
           Committee reps and Committee members


01/14/22   Telephone Call(s)                              1.70              1,598.00
  JSF      Attend Committee Meeting


01/15/22   Telephone Call(s)                               .70                658.00
  JSF      Participate in Call with Co-Counsel and
           Advisors


01/16/22   Correspondence                                  .60                882.00
  MLC      Correspondence with committee leadership
           and counsel re: next steps


01/17/22   Telephone Call(s)                              2.00              1,880.00
  JSF      Participate in Call with Committee Member
           Reps and Advisors


01/17/22   Conference call(s)                              .50                735.00
  MLC      Conference call with Canadian Counsel re:
           status of various matters


01/18/22   Conference call(s)                             1.00              1,470.00
  MLC      Conference call with TCC II counsel and TCC
           I counsel to prepare for hearing and other
           matters


01/18/22   Conference call(s)                              .60                882.00
  MLC      Conference call with leadership re:
           follow-up issue
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  DATE
ATTORNEY   DESCRIPTION                                   HOURS                AMOUNT

01/19/22   Telephone Call(s)                              2.20              2,068.00
  JSF      Participate in Meeting of TCC I


01/19/22   Conference call(s)                             2.30              3,381.00
  MLC      TCC I Committee meeting


01/19/22   Telephone Call(s) w/CoCounsel - Other          2.30              2,403.50
  ACS      Zoom of TCC 1 Co-Counsel and Committee reps


01/21/22   Conference call(s)                              .50                735.00
  MLC      Conference call with counsel to review next
           steps in view of chambers conference


01/21/22   Telephone Call(s) w/CoCounsel - Other           .70                731.50
  ACS      Zoom with TCC1 Committee representatives


01/21/22   Telephone Call(s) w/CoCounsel - Other           .80                836.00
  ACS      Zoom with TCC1 Co-counsel and Comittee reps
           following chambers conference


01/21/22   Attend Creditors Meeting                       1.00                475.00
  MRM      Attend meetings with Committee reps. re:
           committee reconstitution/chambers
           conference


01/22/22   Telephone Call(s)                              3.20              3,008.00
  JSF      Participate in Committee Call re: Claim
           Analysis
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  DATE
ATTORNEY   DESCRIPTION                                    HOURS               AMOUNT

01/22/22   Attend Creditors Meeting                       3.00              1,425.00
  MRM      Attend virtual meeting with Committee
           representatives re: strategy


01/24/22   Conference call(s)                              .60                882.00
  MLC      Conference call with leadership


01/24/22   Conference call(s)                              .50                735.00
  MLC      Conference call with leadership and other
           members of TCC 1


01/25/22   Prep. for conference call                       .30                441.00
  MLC      Prepared for call with TCC 1


01/26/22   Telephone Call(s)                               .50                470.00
  JSF      Pre-Call with Co-Counsel to Prepare for
           Committee Representatives Meeting


01/26/22   Telephone Call(s)                               .90                846.00
  JSF      Participate in Committee Representatives
           Meeting


01/26/22   Conference call(s)                              .70              1,029.00
  MLC      Meeting of TCC 1 co-counsel to prepare for
           meeting with TCC 1


01/26/22   Conference call(s)                             1.10              1,617.00
  MLC      Meeting of TCC 1
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ATTORNEY    DESCRIPTION                                  HOURS                 AMOUNT

01/26/22    Telephone Call(s) w/CoCounsel - Other          .50                 522.50
  ACS       TCC 1 Co-counsel Zoom


01/26/22    Telephone Call(s) w/CoCounsel - Other          .90                 940.50
  ACS       TCC 1 Co-counsel and Committee reps Zoom


01/26/22    Attend Creditors Meeting                       .70                 332.50
  MRM       Attend regular TCC 1 representative
            meeting via Zoom


01/31/22    Conference call(s)                            1.30               1,911.00
  MLC       Conference call with leadership and
            counsel re: claims analysis



TOTAL PHASE 29                                           84.30              $93,645.00


Phase: 30                              Communications with Creditors' Committee


  DATE
ATTORNEY    DESCRIPTION                                  HOURS                 AMOUNT

01/03/22    Telephone Call(s)                              .30                 441.00
  MLC       Telephone call with Andy Birchfield re:
            case status next steps


01/03/22    Telephone Call(s)                              .20                 294.00
  MLC       Telephone call with D. Molton re: FCR
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  DATE
ATTORNEY   DESCRIPTION                                    HOURS               AMOUNT

01/03/22   Telephone Call(s)                               .20                294.00
  MLC      Telephone call with Leigh O’Dell re: case
           status next steps


01/03/22   Conference call(s)                              .60                882.00
  MLC      Meeting with EC and TCC II Chair and Counsel
           Glasser


01/03/22   Telephone Call(s) w/CoCounsel - Other           .70                731.50
  ACS      Zoom with J Massey, T Waldrep, R Morse, M
           Klein and D Kupfer


01/04/22   Telephone Call(s)                               .60                564.00
  JSF      Call with Counsel for TCCI and TCCII re:
           Issues of Mutual Interest


01/04/22   Conference call(s)                             1.00              1,470.00
  MLC      Conference call with counsel for TCC 2 to
           coordinate among committees


01/04/22   Telephone Call(s) w/CoCounsel - Other           .60                627.00
  ACS      Zoom TCC 1 and TCC 2 proposed counsel


01/05/22   Conference call(s)                              .50                735.00
  MLC      Conference call with sub-committee re:
           meeting with FCR Candidate D


01/05/22   Preparation for Conference                      .50                735.00
  MLC      Prepared for meeting re FCR with TCC II
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ATTORNEY   DESCRIPTION                                   HOURS                AMOUNT

01/06/22   Telephone Call(s)                               .30                441.00
  MLC      Telephone call with S. Beville re: HL/UST
           issues


01/06/22   Conference call(s)                              .40                588.00
  MLC      Conference call with TCC II counsel re:
           extension of PI injunction


01/06/22   Conference call(s)                              .60                882.00
  MLC      Conference call with Co-counsel re
           post-conference steps


01/06/22   Telephone Call(s)                               .30                441.00
  MLC      Telephone call with Leigh O’Dell re:
           extension of PI injunction


01/06/22   Telephone Call(s)                               .40                588.00
  MLC      Telephone call with Molton re: next steps


01/06/22   Conference call(s)                              .40                588.00
  MLC      Conference call with TCC II co-counsel re:
           follow up re PI injunction


01/06/22   Telephone Call(s) w/CoCounsel - Other           .40                418.00
  ACS      Telecon MLC re upcoming meet with TCC 2
           counsel


01/07/22   Telephone Call(s)                               .60                882.00
  MLC      Telephone call with Michelle Parfitt re:
           status of case and next steps
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  DATE
ATTORNEY   DESCRIPTION                                   HOURS                AMOUNT

01/07/22   Telephone Call(s)                               .60                882.00
  MLC      Telephone call with Andy Birchfield re:
           status of case and next steps


01/07/22   Conference call(s)                              .70              1,029.00
  MLC      Conference call with Stark and Molton re:
           status of case


01/07/22   Conference call(s)                              .40                588.00
  MLC      Meet and conference with TCC 2 and debtor
           re FCR protocol


01/07/22   Conference call(s)                             2.40              3,528.00
  MLC      Conference call with TCC 1 leadership and
           co-counsel


01/08/22   Telephone Call(s)                               .40                588.00
  MLC      Telephone call with Leigh O’Dell re:
           January 11 hearing


01/08/22   Correspondence                                  .60                882.00
  MLC      Correspondence with Stark and Molton re:
           January 11 hearing


01/08/22   Correspondence                                  .50                735.00
  MLC      Correspondence with TCC I re: January 11
           hearing


01/09/22   Correspondence                                  .60                882.00
  MLC      Correspondence with co-counsel re meeting
           with leadership in NYC
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ATTORNEY   DESCRIPTION                                    HOURS               AMOUNT

01/10/22   Telephone Call(s)                               .50                735.00
  MLC      Telephone call with Michelle Parfitt re:
           current matters before committee


01/10/22   Conference call(s)                              .50                735.00
  MLC      TCC 1 meeting and interview of potential FA


01/11/22   Telephone Call(s)                               .80                752.00
  JSF      Participate in Videoconference with
           Co-Counsel and Counsel for TCC II


01/11/22   Conference call(s)                              .80              1,176.00
  MLC      Conference call with TCC 1 and TCC 2 counsel
           to prepare for next steps


01/11/22   Conference call(s)                              .40                588.00
  MLC      Conference call with TCC 1 re: interview of
           potential FA


01/11/22   Telephone Call(s) w/CoCounsel - Other           .80                836.00
  ACS      Zoom meet TCC1 and TCC2 Co-counsel


01/12/22   Examine Documents                               .50                470.00
  JSF      Review of Case Update and Timeline to TCC


01/12/22   Examine Documents                               .50                430.00
   JB      Multiple TCC1 member case update,
           deadlines workflow, including summary of
           hearing and upcoming hearing logistics
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ATTORNEY   DESCRIPTION                                   HOURS                AMOUNT

01/13/22   Examine Documents                               .40                344.00
   JB      Emails re: TCC1 meeting/agenda including
           PI status/next steps including PI
           adjournment requests and emails with TCC2
           and counsel


01/14/22   Correspondence                                  .60                882.00
  MLC      Correspondence with leadership re:
           strategy


01/15/22   Conference call(s)                              .80              1,176.00
  MLC      Conference call with Brattle and BR team


01/17/22   Conference call(s)                             2.10              3,087.00
  MLC      Conference call with Brattle and
           leadership re: claims analysis


01/17/22   Conference call(s)                             2.40              3,528.00
  MLC      Conference call with Brattle and TCC 1 re:
           claims analysis


01/17/22   Telephone Call(s)                              2.20              1,045.00
  MRM      Participate in meeting with Member Reps.
           and Brattle


01/17/22   Attend Creditors Meeting                       2.50              1,187.50
  MRM      Attend Committee representatives working
           meeting re: claims


01/18/22   Telephone Call(s) w/CoCounsel - Other          1.00              1,045.00
  ACS      Zoom with TCC1 and TCC2 Co-counsel
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ATTORNEY   DESCRIPTION                                   HOURS                AMOUNT

01/19/22   Telephone Call(s)                               .30                441.00
  MLC      Telephone call with David Molton re: next
           steps


01/19/22   Telephone Call(s)                               .30                441.00
  MLC      Telephone call with Robert Stark re: next
           steps


01/20/22   Conference call(s)                              .30                441.00
  MLC      Conference call with Prieto and Sunni
           Beville re: plan exclusivity motion by
           debtor


01/20/22   Correspondence                                  .40                588.00
  MLC      Correspondence with TCC 2 re: January 19
           hearing


01/20/22   Correspondence                                  .40                588.00
  MLC      Follow up correspondence with TCC 1 counsel
           re: UST


01/20/22   Telephone Call(s)                               .20                294.00
  MLC      Telephone call with Molton re: January 19
           hearing and next steps


01/20/22   Telephone Call(s)                               .20                294.00
  MLC      Telephone call with Molton re: next steps


01/20/22   Telephone Call(s) w/Adversary                   .30                313.50
  ACS      WebEx meet and confer TCC1 and 2 Co-counsel
           and Debtor re exclusivity
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  DATE
ATTORNEY   DESCRIPTION                                   HOURS                AMOUNT

01/20/22   Telephone Call(s) w/CoCounsel - Other           .60                627.00
  ACS      Zoom meet Tcc1 and Tcc2 Co-counsel re
           supplemental briefing


01/21/22   Examine Documents                               .50                470.00
  JSF      Review of Updates on Upcoming Matters to
           Committee and Committee Formation


01/21/22   Telephone Call(s)                               .40                588.00
  MLC      Telephone call with Molton re: follow up
           with leadership


01/21/22   Correspondence                                  .70              1,029.00
  MLC      Correspondence re call with leadership


01/22/22   Conference call(s)                              .30                441.00
  MLC      Conference call with J. Jonas and Michelle
           re: potential witness


01/22/22   Correspondence                                  .30                441.00
  MLC      Correspondence with co-counsel re:
           leadership matters


01/25/22   Telephone Call(s)                               .70                658.00
  JSF      Call with Counsel for TCC I and TCC II re:
           Upcoming Matters


01/25/22   Conference call(s)                             1.00              1,470.00
  MLC      Joint conference call with counsel for TCC
           1 and TCC 2 to prepare for MTD and related
           issues
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ATTORNEY   DESCRIPTION                                   HOURS                AMOUNT

01/25/22   Telephone Call(s)                               .50                735.00
  MLC      Telephone call with Leigh O’Dell
           concerning claims analysis


01/25/22   Telephone Call(s) w/CoCounsel - Other           .80                836.00
  ACS      Telecon TCC1 and TCC2 Co-Counsel


01/26/22   Correspondence                                 1.80              2,646.00
  MLC      Correspondence with potential FCR
           candidates for meeting with counsel for
           TCC1 and TCC2.


01/26/22   Conference call(s)                              .50                735.00
  MLC      Meeting of TCC 1 and TCC 2 counsel re: FCR
           process and next steps


01/26/22   Correspondence                                  .80                380.00
  MRM      Participate in joint meeting with TCC 1 and
           2 counsel re: FCR protocol/selection
           process (.5) and follow-up correspondence
           with Otterbourg team re: same (.3)


01/27/22   Telephone Call(s)                               .90              1,323.00
  MLC      Telephone call with Leigh O’Dell re: claims
           analysis


01/27/22   Conference call(s)                             1.10              1,617.00
  MLC      Conference call with Michelle Parfitt and
           James Green re: claims analysis
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  DATE
ATTORNEY    DESCRIPTION                                    HOURS               AMOUNT

01/31/22    Conference call(s)                             1.50              2,205.00
  MLC       Conference call with TCC 1 and TCC 2 counsel
            re: potential FCR nominees


01/31/22    Conference call(s)                              .30                441.00
  MLC       Conference call with leadership and
            counsel re: claims analysis


01/31/22    Conference call(s)                             1.30              1,911.00
  MLC       Conference call with TCC 1 committee
            representatives and counsel re claims
            analysis


01/31/22    Revision of Documents                           .40                588.00
  MLC       Revised agenda for meeting with TCC 1 and
            TCC 2



TOTAL PHASE 30                                             48.40            $61,273.50


Phase: 32                               Preparation of Application for Allowance


  DATE
ATTORNEY    DESCRIPTION                                    HOURS               AMOUNT

01/11/22    Examine Documents                              1.20                840.00
  RCY       Examine time entries in preparation of
            monthly statement.


01/12/22    Examine Documents                               .60                420.00
  RCY       Revise monthly statement.
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  DATE
ATTORNEY    DESCRIPTION                                  HOURS                AMOUNT

01/12/22    Prepare Papers                                1.40                483.00
  JKH       Prepare second monthly statement


01/13/22    Examine Documents                              .20                188.00
  JSF       Review of Monthly Fee Statement


01/13/22    Examine Documents                              .30                210.00
  RCY       Provide comments to monthly statement.


01/13/22    Prepare Papers                                 .80                276.00
  JKH       Finalize monthly statement for committee
            review


01/18/22    Correspondence                                 .70                241.50
  JKH       Email communications re: status of filing
            monthly statement; finalize same for
            filing and calendar objection deadline


01/20/22    Examine Documents                              .80                560.00
  RCY       Prepare proposed budget and staffing plan.



TOTAL PHASE 32                                            6.00              $3,218.50


Phase: 34                                   Claims Objection Work / Claims Admin


  DATE
ATTORNEY    DESCRIPTION                                  HOURS                AMOUNT
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ATTORNEY   DESCRIPTION                                   HOURS                AMOUNT

01/03/22   Examine Documents                               .40                376.00
  JSF      Claims analysis


01/03/22   Review Documents                                .70              1,029.00
  MLC      Review of claims analysis


01/04/22   Telephone Call(s)                               .40                588.00
  MLC      Telephone call - claims analysis


01/04/22   Correspondence                                  .80              1,176.00
  MLC      Correspondence with co-counsel re: claims
           analysis


01/09/22   Correspondence                                  .20                294.00
  MLC      Correspondence with Brattle


01/09/22   Telephone Call(s)                               .40                588.00
  MLC      Telephone call with Brattle


01/10/22   Examine Documents                               .40                376.00
  JSF      Review of Background Information re:
           Claims and Damages and Categorization


01/10/22   Correspondence                                  .30                441.00
  MLC      Follow up on claims issues.


01/14/22   Examine Documents                               .40                376.00
  JSF      Review of Information re: Potential Claims
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ATTORNEY   DESCRIPTION                                   HOURS                AMOUNT

01/15/22   Examine Documents                              1.20              1,128.00
  JSF      Review of Materials re: Claims and Values


01/15/22   Telephone Call(s)                               .20                294.00
  MLC      Telephone call with Brattle


01/15/22   Correspondence                                 1.30              1,911.00
  MLC      Correspondence with Brattle re: underlying
           data


01/18/22   Examine Documents                              1.40              1,316.00
  JSF      Review of Information re: Ovarian Cancer
           Claims and Analysis


01/18/22   Conference call(s)                             1.50              2,205.00
  MLC      Conference call with Brattle and
           Leadership re: claims analysis


01/18/22   Review Documents                                .40                138.00
  JKH      Review email and attachment communications
           with Brattle


01/19/22   Examine Documents                               .40                376.00
  JSF      Attention to Issues re: Claim Evaluation -
           Review of E-Mails and Analysis


01/20/22   Conference call(s)                              .90              1,323.00
  MLC      Conference call with Leadership re: claims
           analysis
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  DATE
ATTORNEY   DESCRIPTION                                   HOURS                AMOUNT

01/20/22   Conference call(s)                              .40                588.00
  MLC      Conference call with litigation team re:
           privilege and confidentiality agreement
           with Brattle


01/20/22   Conference call(s)                              .50                735.00
  MLC      Conference call with Brattle and TCC I re:
           claims analysis


01/20/22   Telephone Call(s) w/CoCounsel - Other           .30                313.50
  ACS      Call TCC1 Co-counsel and Brattle


01/21/22   Conference call(s)                              .50                735.00
  MLC      Conference call with Brattle and TCC I re:
           claims analysis


01/21/22   Revision of Documents                          1.10              1,617.00
  MLC      Review of revised draft of
           privileged/confidential agreement with
           Brattle


01/21/22   Telephone Call(s) w/CoCounsel - Other           .80                836.00
  ACS      Zoom with TCC1 Co-counsel on claims matters


01/22/22   Examine Documents                              1.30              1,222.00
  JSF      Review of Materials re: Claims and Values


01/22/22   Conference call(s)                             3.10              4,557.00
  MLC      Conference meeting with TCC 1 and Brattle
           re: claims analysis
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  DATE
ATTORNEY   DESCRIPTION                                   HOURS                AMOUNT

01/23/22   Conference call(s)                              .80              1,176.00
  MLC      Conference call with leadership re claims
           analysis


01/23/22   Conference call(s)                              .60                882.00
  MLC      Conference call with Brattle and Leigh
           O’Dell re claims analysis


01/23/22   Telephone Call(s)                               .40                588.00
  MLC      Telephone call with Andy Birchfield re:
           claims analysis


01/23/22   Review Documents                               1.10              1,617.00
  MLC      Review of claims analysis methodology


01/24/22   Examine Documents                              2.20              2,068.00
  JSF      Brattle Materials re: Claims and
           Additional Supporting Documents re: Claim
           Valuation


01/24/22   Examine Documents                               .30                258.00
   JB      Review claims analysis materials


01/24/22   Conference call(s)                             1.20              1,764.00
  MLC      Conference call with leadership and
           Brattle re: claims analysis


01/24/22   Review Documents                               1.30              1,911.00
  MLC      Review of data in connection with claims
           review
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  DATE
ATTORNEY    DESCRIPTION                                    HOURS               AMOUNT

01/25/22    Review Documents                                 .90             1,323.00
  MLC       Review of protective order for use by
            Brattle and other advisors


01/25/22    Review Documents                                1.30             1,911.00
  MLC       Review of draft claims analysis


01/26/22    Examine Documents                                .60               564.00
  JSF       Review of Update on Analysis of Claims
            Issues


01/27/22    Review Documents                                1.10             1,617.00
  MLC       Review of draft report re claims analysis


01/28/22    Conference call(s)                               .90             1,323.00
  MLC       Conference call with Brattle and
            leadership re: claims analysis


01/31/22    Review of e-mail(s)                              .60               882.00
  MLC       Revised email concerning claims analysis



TOTAL PHASE 34                                             32.60            $42,422.50


Phase: 35                                                Fee/Employment Objections


  DATE
ATTORNEY    DESCRIPTION                                    HOURS               AMOUNT
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  DATE
ATTORNEY   DESCRIPTION                                   HOURS                AMOUNT

01/07/22   Analysis of Legal Papers                        .30                258.00
   JB      Review LTL objections to Financial Advisor
           retention


01/18/22   Analysis of Legal Papers                        .20                172.00
   JB      JD response to retention objection


01/18/22   Analysis of Opposing brief for motion           .60                627.00
  ACS      Review Debtor’s replies on objections to
           Jones Day, Weill and Bates White retentions
           and email TCC1 co-counsel re same


01/20/22   Review/correct Reply brief for motion           .30                313.50
  ACS      Review draft TCC1 reply on Jones Day
           retention application and comment on same


01/21/22   Examine Documents                               .60                564.00
  JSF      Draft of TCC Sur-Reply re: Jones Day
           Retention


01/21/22   Examine Documents                               .20                188.00
  JSF      Draft of TCC Surreply to Jones Day
           Retention


01/21/22   Analysis of Legal Papers                        .40                344.00
   JB      Surreply response and committee comments
           to papers to JD retention


01/25/22   Attendance at Court (conference)                .80                836.00
  ACS      Appearance by Court Solutions at omnibus
           hearing
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TOTAL PHASE 35                                            3.40              $3,302.50


Phase: 37                                                        Stay Proceedings


  DATE
ATTORNEY    DESCRIPTION                                  HOURS                AMOUNT

01/03/22    Examine Documents                              .20                172.00
   JB       Review court order re: briefing/oral
            argument on motion to withdraw reference


01/03/22    Telephone Call(s)                              .20                294.00
  MLC       Telephone call with Jeff Jonas and ACS re:
            preliminary injunction issues


01/03/22    Telephone Call(s) w/CoCounsel - Other          .30                313.50
  ACS       Telecon MLC, J Jonas, and S Beville re PI


01/03/22    Telephone Call(s) w/CoCounsel - Other          .30                313.50
  ACS       Telecon J Jonas and B Glasser re court
            conference strategy


01/03/22    Attendance at Court (conference)              1.10              1,149.50
  ACS       Telephonic court hearing


01/04/22    Examine Documents                              .70                658.00
  JSF       Review of Current PI/Stay Order and SOL
            Issues


01/04/22    Conference call(s)                            1.00              1,470.00
  MLC       Conference call with HL and Jeff Jonas and
            BR lit team to prepare for hearings
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ATTORNEY   DESCRIPTION                                   HOURS                AMOUNT

01/04/22   Correspondence w/CoCounsel - Other              .20                209.00
  ACS      Review strategy communications and
           comments on same


01/04/22   Review Documents                                .20                 69.00
  JKH      Review and circulate transcripts from PI
           hearing


01/05/22   Review Documents                               1.10              1,617.00
  MLC      Review of joinder motions filed by
           creditors


01/05/22   Correspondence                                  .20                 69.00
  JKH      Schedule appearances for PI status
           conference


01/05/22   Review Documents                                .50                237.50
  MRM      Review Debtor's reply to PI extension
           opposition


01/06/22   Telephone Call(s)                              1.00                940.00
  JSF      Participate in Pre-Hearing re: Preliminary
           Injunction


01/06/22   Examine Documents                              2.40              2,256.00
  JSF      Review of Cases and Issues re: PI/Stay and
           Briefing


01/06/22   Analysis of Legal Papers                       1.40              1,204.00
   JB      LTL reply to TCC PI brief
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01/06/22   Analysis of Legal Papers                        .20                172.00
   JB      Comments to PI paprs and next steps to
           prepare for hearing


01/06/22   Analysis of Legal Papers                        .40                344.00
   JB      Bestwall district court decision on PI and
           impact on PI hearing


01/06/22   Attendance at Court                             .80              1,176.00
  MLC      Appeared at Court hearing re status
           conference


01/06/22   Preparation for Court                          1.10              1,617.00
  MLC      Prepared for court hearing


01/06/22   Telephone Call(s)                               .20                294.00
  MLC      Telephone call with Dan Prieto re:
           extension of PI injunction


01/06/22   Preparation of Documents                        .90              1,323.00
  MLC      Drafting and revising of letter to court


01/06/22   Analysis of Reply brief for motion             2.70              2,821.50
  ACS      Review and annotate Debtor’s reply on
           preliminary injunction motion


01/06/22   Telephone Call(s) w/CoCounsel - Other           .50                522.50
  ACS      Zoom with TCC2 counsel re PI
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01/06/22   Telephone Call(s) w/CoCounsel - Other           .20                209.00
  ACS      Telecon MLC and D Stolz re Zoom with TCC 2
           re PI


01/06/22   Telephone Call(s) w/Adversary                   .30                313.50
  ACS      Telecon MLC and D Prieto re PI


01/06/22   Attendance at Court (conference)               1.00              1,045.00
  ACS      Appear by Court Solutions on conference
           with Court re PI


01/06/22   Telephone Call(s) w/CoCounsel - Other           .80                836.00
  ACS      Follow up Webex meet of TCC1 counsel re PI


01/06/22   Research re Court (motion)                      .60                627.00
  ACS      Review and annotate Bestwall district
           court appellate decision re PI


01/06/22   Telephone Call(s) w/CoCounsel - Other           .50                522.50
  ACS      Follow up Zoom with TCC2 counsel re PI


01/06/22   Telephone Call(s) w/CoCounsel - Other           .20                209.00
  ACS      Review and edit draft letter to Court from
           TCC1 and TCC2 re PI


01/06/22   Telephone Call(s) w/CoCounsel - Other           .50                522.50
  ACS      Zoom meet and confer counsel to TCC1, TCC2
           and Debtor
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  DATE
ATTORNEY   DESCRIPTION                                   HOURS                AMOUNT

01/06/22   Examine Documents                               .30                210.00
  RCY      Examine Bestwall decision and analyze
           impact if any.


01/06/22   Review Documents                                .30                103.50
  JKH      Review PI order


01/06/22   Court Record-Docket Check                       .30                103.50
  JKH      Review docket and court website re: PI
           status conference


01/06/22   Review Documents                               2.10                724.50
  JKH      Review PI filings and prepare documents for
           hearing


01/06/22   Attendance at Hearing                           .30                142.50
  MRM      Monitor PI status hearing; take notes re:
           same


01/07/22   Analysis of Correspondence                      .20                172.00
   JB      Letter to Court re: discovery
           disputes/schedule PI and MTD


01/07/22   Conference call(s)                              .50                735.00
  MLC      Conference call with debtor counsel and TCC
           II re: 1/11 hearing


01/07/22   Review Documents                                .40                588.00
  MLC      Review of draft letter to court re:
           adjournment of PI hearing
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ATTORNEY   DESCRIPTION                                   HOURS                AMOUNT

01/07/22   Revision of Documents                           .80              1,176.00
  MLC      Revisions to draft TCC 2 stipulation re:
           pleadings


01/08/22   Telephone Call(s) w/CoCounsel - Other           .30                313.50
  ACS      Telecon B Glasser re PI hearing


01/09/22   Review/correct Stipulation                      .50                522.50
  ACS      Edit stipulations among TCC1 and TCC2 re
           adversary proceeding and other liigations


01/10/22   Telephone Call(s)                              1.00                940.00
  JSF      Participate in Court Hearing re: PI Hearing
           and Other Matters


01/10/22   Examine Documents                               .40                376.00
  JSF      Review of Current PI Order


01/10/22   Examine Documents                               .20                188.00
  JSF      Review of Draft Letter to Judge Wolfson re:
           PI Schedule


01/10/22   Examine Documents                               .30                282.00
  JSF      Review Draft of Proposed Bridge Order


01/10/22   Analysis of Legal Papers                        .40                344.00
   JB      Review JD letter to court re: position on
           PI/lift stay/MTD hearing and updates from
           co-counsel
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ATTORNEY   DESCRIPTION                                   HOURS                AMOUNT

01/10/22   Attendance at Conference                        .60                516.00
   JB      Portion of court hearing re: PI status


01/10/22   Analysis of Correspondence                      .20                172.00
   JB      Review proposed letter to District Court
           re: motion to withdraw reference


01/10/22   Preparation for Court (conference)             1.20              1,764.00
  MLC      Prepare for conference before court re: PI
           status conference


01/10/22   Attendance at Court                            1.00              1,470.00
  MLC      General appearance at court hearing re: PI
           status conference


01/10/22   Conference call(s)                              .60                882.00
  MLC      Conference call re next steps with
           co-counsel re adjournment of PI hearing


01/10/22   Review Documents                                .70              1,029.00
  MLC      Review of draft of PI bridge order


01/10/22   Review Documents                                .60                882.00
  MLC      Review of draft of correspondence to Judge
           Wolfson re: extension of hearing date


01/10/22   Telephone Call(s) w/CoCounsel - Other           .30                313.50
  ACS      Telecon MLC to prep for conference
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  DATE
ATTORNEY   DESCRIPTION                                   HOURS                AMOUNT

01/10/22   Telephone Call(s) w/CoCounsel - Other           .50                522.50
  ACS      Follow up call among TCC1 counsel


01/10/22   Review Documents                                .40                138.00
  JKH      Review letters re: adjournment of PI
           hearing


01/10/22   Review Documents                                .70                241.50
  JKH      Review documents in preparation for PI
           hearing


01/10/22   Prepare Papers                                 1.50                712.50
  MRM      Prepare draft PI bridge order


01/10/22   Attendance at Hearing                           .80                380.00
  MRM      Monitor PI status conference; take notes
           re: same


01/10/22   Review Documents                                .30                142.50
  MRM      Review draft letter to District Court re:
           PI status


01/11/22   Examine Documents                               .20                188.00
  JSF      Review of Memo to Committee re: SOL and
           PI/Stay Order


01/11/22   Examine Documents                               .30                282.00
  JSF      Review of Proposed PI/Stay Bridge Order
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ATTORNEY   DESCRIPTION                                   HOURS                AMOUNT

01/11/22   Telephone Call(s)                              3.50              3,290.00
  JSF      Participate in Omnibus Hearing on Lift Stay
           Motion and Other Matters


01/11/22   Examine Documents                               .80                752.00
  JSF      Analysis of Issues re: Preliminary
           Injunction and Denial of Motion to Withdraw


01/11/22   Examine Documents                               .20                172.00
   JB      Review LTL objection to lift stay motion
           and emails with co-counsel


01/11/22   Examine Documents                               .20                172.00
   JB      Review order denying motion to withdraw
           reference


01/11/22   Preparation for Court                          1.10              1,617.00
  MLC      Prepare for hearing


01/11/22   Correspondence                                  .30                441.00
  MLC      Correspondence with TCC 2 and Debtor
           attorney re: draft of bridge order


01/11/22   Revision of Documents                           .50                735.00
  MLC      Revisions to letter to J. Wolfson


01/11/22   Revision of Documents                          1.10              1,617.00
  MLC      Review and revisions to draft of bridge
           order
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ATTORNEY   DESCRIPTION                                   HOURS                AMOUNT

01/11/22   Review Documents                                .50                735.00
  MLC      Review and analysis of J. Wolfson decision
           to deny motion to withdraw the reference


01/11/22   Correspondence                                  .70              1,029.00
  MLC      Correspondence with TCC 1 counsel re: next
           steps re PI hearing


01/11/22   Preparation of Documents                       1.80              2,646.00
  MLC      Outline of next steps re: PI hearing


01/11/22   Preparation of Legal Papers                     .40                418.00
  ACS      Review Debtor’s letter objecting to
           demonstrative materials and analysis of
           potential implications to PI hearing


01/11/22   Attendance at Court (Motion)                   3.50              3,657.50
  ACS      Appear on Court Solutions at omnibus court
           hearing


01/11/22   Preparation for Court (motion)                  .90                940.50
  ACS      Review and annotate Westhueff deposition
           for PI hearing


01/11/22   Analysis of Order                               .30                313.50
  ACS      Review Judge Wolfson order and emails
           from/to TCC1 and 2 counsel


01/11/22   Review Documents                                .20                 69.00
  JKH      Review order denying motion for withdrawal
           of reference
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ATTORNEY   DESCRIPTION                                   HOURS                AMOUNT

01/11/22   Attendance at Hearing                          1.50                712.50
  MRM      Monitor hearing on motion for relief from
           PI Order; take notes re: same


01/11/22   Review Documents                                .50                237.50
  MRM      Review District Court order denying motion
           to withdraw the reference


01/12/22   Telephone Call(s)                              1.00                940.00
  JSF      Conference with Co-Counsel re: PI Hearing


01/12/22   Analysis of Legal Papers                        .20                172.00
   JB      Quigley decision and analogy for motion to
           dismiss use/hearing/PI


01/12/22   Analysis of Legal Papers                        .20                172.00
   JB      Notice of depositions related to Motion to
           dismiss hearing and assess attendance to
           assist with PI hearing


01/12/22   Conference call(s)                             1.10              1,617.00
  MLC      Conference call with Co-counsel to prepare
           for PI Hearing


01/12/22   Preparation of Documents                       2.80              4,116.00
  MLC      Prepared for PI hearing by reviewing prior
           motion papers


01/12/22   Correspondence w/CoCounsel - Other              .20                209.00
  ACS      E-mails to/from C Speckart, B Glasser and
           M Klein
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ATTORNEY   DESCRIPTION                                   HOURS                AMOUNT

01/12/22   Preparation for Court (motion)                  .80                836.00
  ACS      Re-review Judge Whitley preliminary
           injunction ruling and review Judge Kaplan
           Hill lift stay ruling to prepare for
           preliminary injunction hearing


01/13/22   Examine Documents                               .30                282.00
  JSF      Review of Letter to Court re: Adjournment
           of PI/Stay Hearing


01/13/22   Examine Documents                              1.40              1,316.00
  JSF      Review of Cases and Issues re: PI/Stay
           Motion


01/13/22   Research                                        .30                258.00
   JB      Review Texas 2-step decision and
           implication for motion to dismiss/PI
           hearing


01/13/22   Analysis of Legal Papers                        .40                344.00
   JB      Status of PI hearing and preparation and
           response to LTL positions


01/13/22   Revision of Documents                           .80              1,176.00
  MLC      Review and revisions to draft of letter to
           court to adjourn PI hearing date


01/13/22   Telephone Call(s) w/CoCounsel - Other           .10                104.50
  ACS      Zoom meet with M Klein and C Speckhart
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ATTORNEY   DESCRIPTION                                   HOURS                AMOUNT

01/13/22   Preparation of Correspondence                  3.50              3,657.50
  ACS      Draft and edit letter to Judge Kaplan re
           adjournment of PI hearing and emails
           to/from co-counsel re same


01/14/22   Examine Documents                               .50                470.00
  JSF      Review of Proposed PI Bridge Order and
           Revisions


01/14/22   Examine Documents                               .40                376.00
  JSF      Review of Debtor's Letter to Court re: PI
           Adjournment and Other Discovery Issues


01/14/22   Telephone Call(s)                              2.00              1,880.00
  JSF      Attend Hearing re: PI Adjournment and
           Discovery Issues


01/14/22   Prepare Legal Papers                            .40                376.00
  JSF      Review and Revise Proposed PI Order for
           Submission to Court


01/14/22   Attendance at Court                            2.00              2,940.00
  MLC      Court hearing (general appearance). Oral
           argument re PI hearing issues


01/14/22   Preparation for Court                          1.30              1,911.00
  MLC      Prepare for court hearing /status
           conference re: PI
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ATTORNEY   DESCRIPTION                                   HOURS                AMOUNT

01/14/22   Analysis of Correspondence                      .30                313.50
  ACS      Review Debtor’s response to TCC’s letters
           to court and telecom MLC re same


01/14/22   Research                                        .70                332.50
  MRM      Review PI decision on appeal in Bestwall
           case


01/15/22   Preparation for Court (conference)             2.40              3,528.00
  MLC      Prepare for PI hearing by reviewing NC
           transcripts


01/16/22   Review Documents                               1.50              2,205.00
  MLC      Review of underlying conditions data


01/17/22   Analysis of Legal Papers                        .20                172.00
   JB      Review bridge order on PI relief


01/17/22   Revision of Documents                           .40                588.00
  MLC      Reviewed revisions to draft of stipulation
           re: AP intervention of TCC 2


01/18/22   Preparation for Deposition                     1.20              1,032.00
   JB      Mongon including review of deposition
           notice/topics, documents and assess
           testimony for PI


01/18/22   Telephone Call(s)                               .80              1,176.00
  MLC      Telephone call with MAP re: certain
           bankruptcy issues
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ATTORNEY   DESCRIPTION                                   HOURS                AMOUNT

01/18/22   Telephone Call(s)                               .40                588.00
  MLC      Telephone call with ACS re: PI hearing


01/18/22   Telephone Call(s)                               .30                441.00
  MLC      Telephone call with Sunni Beville re: PI
           hearing and MTD hearing


01/18/22   Review Documents                                .20                 95.00
  MRM      Review Court order denying Hill stay relief
           motion in part


01/19/22   Attendance at Deposition                       6.80              5,848.00
   JB      Mongon


01/19/22   Preparation for Deposition                      .30                258.00
   JB      Kim/Dickinson


01/19/22   Correspondence                                  .40                588.00
  MLC      Correspondence with co-counsel re: common
           interest agreement


01/19/22   Review Documents                               1.60                552.00
  JKH      Review documents related to PI with respect
           to scheduling and calendaring


01/20/22   Analysis of Legal Papers                        .40                344.00
   JB      Review amended notice of depositions
           Kim/Dickerson and prepare
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ATTORNEY   DESCRIPTION                                   HOURS                AMOUNT

01/20/22   Analysis of Deposition                          .30                258.00
   JB      Mongon transcript re: excerpts for PI
           hearing


01/20/22   Correspondence                                 1.30              1,911.00
  MLC      Correspondence re: status of supplemental
           briefing


01/20/22   Preparation for Court                          1.20              1,764.00
  MLC      Prepare for PI/MTD hearing by reviewing
           pathology reports of committee
           representatives


01/20/22   Review Documents                               2.70                931.50
  JKH      Review PI papers


01/21/22   Examine Documents                               .20                188.00
  JSF      Entered Order Approving Stipulation
           Between Committees Regarding Previously
           Filed Motions


01/21/22   Examine Documents                              1.70              1,598.00
  JSF      Examine District Court Opinion Denying
           Motion to Withdraw the Reference


01/21/22   Analysis of Legal Papers                        .30                258.00
   JB      Additional deposition notices and assess
           testimony in light of MTD/PI hearing
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  DATE
ATTORNEY   DESCRIPTION                                   HOURS                AMOUNT

01/21/22   Analysis of Legal Papers                        .50                430.00
   JB      Review Judge Wolfson decision denying
           motion to withdraw reference and emails
           with co-counsel assessing decision and
           next steps


01/21/22   Analysis of Correspondence                      .30                258.00
   JB      Letters to court with further discovery
           disputes in connection with motion to
           dismiss and interplay with PI issues


01/21/22   Review Documents                               1.30              1,911.00
  MLC      Review of decision by Judge Wolfson re:
           withdrawal of reference


01/21/22   Examine Documents                               .50                350.00
  RCY      Examine order denying motion to withdraw
           the reference.


01/21/22   Review Documents                                .90                427.50
  MRM      Review District Court opinion on motion to
           withdraw the reference


01/22/22   Telephone Call(s)                               .20                294.00
  MLC      Telephone call with ACS re: preparation for
           PI hearing


01/24/22   Preparation of e-mail(s)                        .50                430.00
   JB      Prepare emails/review reply re: Azevedo
           deposition and prepare
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ATTORNEY   DESCRIPTION                                   HOURS                AMOUNT

01/24/22   Attendance at Deposition                       3.20              2,752.00
   JB      Azevedo


01/24/22   Analysis of Legal Papers                        .30                258.00
   JB      Review subpoenas served to Goldman
           Sachs/JP Morgan and J&J


01/24/22   Analysis of Correspondence                      .20                172.00
   JB      Review letter to court re:
           redactions/rulings on production of
           documents


01/24/22   Review Documents                                .70                332.50
  MRM      Review of PI pleadings in preparation for
           PI extension hearing


01/25/22   Examine Documents                              1.60              1,504.00
  JSF      Attention to Issues re: Preparation for
           PI/Stay Relief Hearing


01/25/22   Analysis of Legal Papers                        .20                172.00
   JB      Review motion to seal/redact


01/25/22   Preparation for Conference                      .60                516.00
   JB      Emails re: PI hearing preparation and
           prepare for hearing including review of
           briefs


01/25/22   Preparation for Deposition                      .40                344.00
   JB      Dickinson prep including emails with
           co-counsel
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ATTORNEY   DESCRIPTION                                   HOURS                AMOUNT

01/25/22   Telephone Call(s) w/CoCounsel - Other           .70                731.50
  ACS      Follow up call with MLC and then MLC and J
           Jonas re motion to dismiss and motion for
           preliminary injunction


01/26/22   Telephone Call(s)                              1.10              1,034.00
  JSF      Call with ACS, JBW, MRM and RCY re:
           Preliminary Injunction Hearing Prep


01/26/22   Examine Documents                               .80                752.00
  JSF      Review of Papers re: Preliminary
           Injunction and Stay Request


01/26/22   Preparation for Deposition                      .40                344.00
   JB      Dickinson


01/26/22   Attendance at Deposition                       8.00              6,880.00
   JB      Dickinson


01/26/22   Examine Documents                               .20                172.00
   JB      Order re: redacted material and production


01/26/22   Telephone Call(s) w/CoCounsel - Other          1.00                860.00
   JB      Call with PI team re: hearing preparation


01/26/22   Telephone Call(s) w/CoCounsel - Other          1.00              1,045.00
  ACS      Telecon with Otterbourg PI team
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01/26/22   Conference(s) in Office                        1.10                770.00
  RCY      Team discussion re: next steps and strategy
           in connection with preliminary injunction
           hearing.


01/26/22   Telephone Call(s)                              1.20                570.00
  MRM      Participate in conference call with
           Otterbourg PI team re: PI hearing
           preparation


01/27/22   Examine Documents                              2.60              2,444.00
  JSF      Review of Materials re: TCC Objection to
           Preliminary Injunction


01/27/22   Preparation of e-mail(s)                        .20                172.00
   JB      Prepare emails concerning Ryan deposition
           and reply emails


01/27/22   Preparation for Deposition                      .40                344.00
   JB      Ryan


01/27/22   Attendance at Deposition                       7.00              6,020.00
   JB      Michelle Ryan deposition


01/27/22   Analysis of Legal Papers                        .30                258.00
   JB      Review Aldrich ruling and impact on LTL


01/27/22   Analysis of Legal Papers                        .20                172.00
   JB      Review order/schedule re: motions in
           limine
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01/27/22   Research                                        .60                285.00
  MRM      Review relevant case developments in WDNC
           Aldrich case


01/28/22   Examine Documents                              2.60              2,444.00
  JSF      Review of Pleadings and Issues re: PI
           Hearing


01/28/22   Analysis of Legal Papers                        .30                258.00
   JB      Review amended deposition notice Kim and
           30(b)(6)


01/28/22   Preparation for Deposition                      .30                258.00
   JB      J. Kim motion to dismiss/PI deposition


01/28/22   Analysis of Legal Papers                        .30                258.00
   JB      Review motion to dismiss/preliminary
           injunction tentative trial schedule, order
           of witnesses and scope of examination


01/28/22   Conference call(s)                             1.70              2,499.00
  MLC      Prepared for PI and MTD hearing


01/28/22   Preparation for Court (motion)                 1.50              1,567.50
  ACS      Re-review PI brief and outline re interplay
           of mtd and PI for hearing


01/28/22   Telephone Call(s) w/CoCounsel - Other           .40                418.00
  ACS      Telecon C Joshi and e-mails to/from C Joshi
           re NC proceedings
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01/28/22   Preparation for Court (motion)                  .50                522.50
  ACS      Re-review of Whitley PI ruling to prepare
           for NJ PI argument


01/28/22   Review Documents                               1.00                475.00
  MRM      Review PI pleadings in preparation for
           upcoming PI extension hearing


01/31/22   Examine Documents                              2.40              2,256.00
  JSF      Review and Analysis of Supplemental Briefs
           re: MTD in Relation to PI Arguments


01/31/22   Research                                       2.70              2,538.00
  JSF      Review of NC Cases re: PI Issues


01/31/22   Examine Documents                              1.20              1,128.00
  JSF      Review and Analysis of PI Issues re:
           Upcoming Hearing


01/31/22   Analysis of Legal Papers                        .20                172.00
   JB      Review daily update from counsel and
           prepare for J. Kim deposition


01/31/22   Analysis of Legal Papers                        .20                172.00
   JB      Review Aldrich rulings re: PI hearing


01/31/22   Attendance at Deposition                       7.90              6,794.00
   JB      John Kim deposition (personal capacity)
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01/31/22    Attendance at Deposition                      8.20              8,569.00
  ACS       Appear at Kim deposition for PI hearing



TOTAL PHASE 37                                           172.80         $171,093.50


Phase: 39                                       Litigation/Adversary Proceedings


  DATE
ATTORNEY    DESCRIPTION                                  HOURS                AMOUNT

01/02/22    Analysis of Correspondence                     .20                172.00
   JB       Review letter to Court re: reply papers on
            motion to dismiss


01/02/22    Correspondence w/CoCounsel - Other             .60                627.00
  ACS       Emails to/from S Dwoskin re legal issues
            concerning motion to dismiss and
            preliminary injunction motion


01/03/22    Telephone Call(s)                             1.10              1,034.00
  JSF       Participate in Discovery Conference
            Hearing re: MTD and Other Upcoming Issues


01/03/22    Analysis of Legal Papers                       .20                172.00
   JB       Review status of motion to dismiss
            discovery/rescheduling of depositions and
            timing
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ATTORNEY   DESCRIPTION                                   HOURS                AMOUNT

01/03/22   Conference call(s)                              .50                735.00
  MLC      Conference call re: discovery with Cooley,
           Massey and Waldrep


01/03/22   Review Documents                                .70              1,029.00
  MLC      Review of summary of conference with Court


01/03/22   Attendance at Court                             .60                882.00
  MLC      Attended discovery conference with Court
           (in part)


01/03/22   Review Documents                               1.30                448.50
  JKH      Review objection to MTD


01/04/22   Examine Documents                               .20                188.00
  JSF      Review of TCC Reservation of Rights re:
           Removal of Actions


01/04/22   Revision of Documents                           .30                441.00
  MLC      Review and revisions to draft reservation
           re extension of time to withdraw state
           court actions


01/04/22   Examine Documents                              2.80              1,960.00
  RCY      Research and prepare memo re: statutes of
           limitation.


01/05/22   Examine Documents                               .80                752.00
  JSF      Review of Memo re: PI/Stay order and
           Tolling of SOL
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ATTORNEY   DESCRIPTION                                   HOURS                AMOUNT

01/05/22   Examine Documents                               .20                172.00
   JB      Revise limited objections to motion to
           extend time to remove actions


01/05/22   Examine Documents                               .40                344.00
   JB      Review emails re: case status including
           deposition notices for MTD hearing


01/05/22   Review Documents                                .40                588.00
  MLC      Review of memo re statute of limitations


01/05/22   Examine Documents                              3.80              2,660.00
  RCY      Additional research and revisions to memo
           re: statutes of limitation.


01/06/22   Telephone Call(s) w/CoCounsel - Other           .60                627.00
  ACS      Telecon S Dwoskin re motion to dismiss


01/06/22   Review Documents                               1.30                448.50
  JKH      Review motion to dismiss filings


01/07/22   Examine Documents                               .30                282.00
  JSF      Review of J&J Statement re: Motion to
           Extend Time to Remove Actions and Committee
           Reservation of Rights


01/10/22   Attendance at Court (conference)                .90                940.50
  ACS      Court conference
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ATTORNEY   DESCRIPTION                                   HOURS                AMOUNT

01/10/22   Review Documents                                .20                 69.00
  JKH      Review deposition notices


01/12/22   Review Documents                                .50                735.00
  MLC      Reviewed Ithkin deposition notice


01/13/22   Revision of Documents                           .60                882.00
  MLC      Review and revisions to draft of letter to
           court re discovery disputes


01/13/22   Review Documents                                .40                588.00
  MLC      Review of TCC II draft of letter to court
           re discovery disputes


01/14/22   Attendance at Court (Motion)                   2.00              2,090.00
  ACS      Court solutions discovery hearing


01/18/22   Analysis of Legal Papers                        .20                172.00
   JB      Stipulation and order re: expert testimony


01/18/22   Review/correct Legal Papers                     .10                104.50
  ACS      Review draft expert disclosure and email
           comment to TCC1 co-counsel


01/21/22   Review Documents                                .80              1,176.00
  MLC      Review of TCC 2 witness list for MTD


01/21/22   Review Documents                                .30                103.50
  JKH      Review documents related to discovery
           disputes
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01/22/22   Correspondence                                  .40                588.00
  MLC      Correspondence with trial team re:
           potential committee representatives as
           witness


01/23/22   Correspondence                                  .40                588.00
  MLC      Correspondence with co-counsel re: certain
           discovery issues


01/24/22   Telephone Call(s)                              1.40              1,316.00
  JSF      Participate in Court Call re: Discovery
           Issues on Motions to Dismiss


01/24/22   Examine Documents                              1.60              1,504.00
  JSF      Review of TCC Motion to Dismiss


01/24/22   Analysis of Correspondence                      .20                172.00
   JB      Letter to Kaplan from LTL counsel re:
           discovery dispute on MTD


01/24/22   Attendance at Conference                        .30                258.00
   JB      Attend portion of Court hearing on MTD
           discovery dispute


01/24/22   Attendance at Court                            1.00              1,470.00
  MLC      General appearance at Court hearing re:
           various discovery disputes


01/24/22   Attendance at Court (conference)               1.40              1,463.00
  ACS      Appear by Court Solutions at discovery
           hearing
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ATTORNEY   DESCRIPTION                                   HOURS                AMOUNT

01/25/22   Attendance at Court                            1.10              1,617.00
  MLC      General appearance before Court hearing on
           discovery and related issues


01/25/22   Review/correct Legal Papers                    1.40              1,463.00
  ACS      Review and comment on TCC1 draft expert
           report


01/26/22   Review Documents                               1.30              1,911.00
  MLC      Review draft Houlihan expert report


01/26/22   Review Documents                               1.40              2,058.00
  MLC      Review supplemental brief in support of MTD


01/26/22   Review Documents                                .40                588.00
  MLC      Review of Judge Kaplan’s Order re:
           redaction of certain documents and
           potential privilege


01/26/22   Conference out of Office                       1.00              1,470.00
  MLC      Attendance for initial part of deposition
           of Richard Dickinson, CFO


01/26/22   Review/correct Legal Papers                     .60                627.00
  ACS      Further comments on TCC1 draft expert
           report


01/26/22   Preparation for Court (motion)                 3.20              3,344.00
  ACS      Re-review MTD and PI motion papers and
           outline interplay issues for hearing
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  DATE
ATTORNEY   DESCRIPTION                                   HOURS                AMOUNT

01/26/22   Telephone Call(s) w/CoCounsel - Other           .40                418.00
  ACS      Telecons M Winograd re TCC1 expert report


01/26/22   Review Documents                                .30                103.50
  JKH      Review document production


01/27/22   Revision of Documents                          2.00              2,940.00
  MLC      Review draft of Houlihan expert report


01/28/22   Revision of Documents                          1.40              2,058.00
  MLC      Reviewed draft expert HL report


01/28/22   Telephone Call(s) w/CoCounsel - Other           .10                104.50
  ACS      Telecon M Wingrad re TCC1 expert report


01/28/22   Review/correct Legal Papers                     .60                627.00
  ACS      Review and comment on revised draft of TCC1
           expert report


01/28/22   Diary & Docket                                  .30                103.50
  JKH      Review docket and filings and update
           calendar re: depositions and motions in
           limine


01/30/22   Examine Documents                               .20                172.00
   JB      Review email from Brown Rudnick re: motion
           to dismiss hearing


01/30/22   Examine Documents                               .20                172.00
   JB      Review email re: J. Kim deposition
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ATTORNEY    DESCRIPTION                                  HOURS                 AMOUNT

01/30/22    Review Documents                              1.00               1,470.00
  MLC       Review of draft brief in support of MTD


01/30/22    Review Documents                              1.30               1,911.00
  MLC       Review and analysis of summary of expert
            reports filed in connection with MTD


01/31/22    Examine Documents                              .60                 564.00
  JSF       Review of Letter to Court from TCC II re:
            Discovery Issues


01/31/22    Analysis of Legal Papers                       .20                 172.00
   JB       Review Debtors' application for approval
            of stipulation and order regarding ESI
            discovery provisions


01/31/22    Conference call(s)                            1.10               1,617.00
  MLC       Attended deposition (in part) of Mr. Kim


01/31/22    Correspondence                                 .20                  69.00
  JKH       Register appearances for MTD discovery
            conference



TOTAL PHASE 39                                           49.30              $53,361.00


Phase: 45                                 Case Administration / General Services


  DATE
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ATTORNEY   DESCRIPTION                                   HOURS                AMOUNT

01/03/22   Examine Documents                               .40                376.00
  JSF      Review Debtor's Objection to Formation of
           Two Committees


01/03/22   Analysis of Legal Papers                        .30                258.00
   JB      Review LTL motion objecting to
           reconstitution of committee


01/03/22   Examine Documents                               .20                172.00
   JB      Review order re: FCR procedure/selection
           protocol


01/03/22   Conference call(s)                              .70              1,029.00
  MLC      Meeting with FCR candidate #1


01/03/22   Conference call(s)                              .50                735.00
  MLC      Meeting with FCR candidate #2


01/03/22   Conference call(s)                              .90              1,323.00
  MLC      Meeting with FCR candidate #3


01/03/22   Correspondence                                  .60                882.00
  MLC      Correspondence re: summary of FCR meetings
           with candidates


01/03/22   Telephone Call(s)                              1.20                570.00
  MRM      Host Zoom meetings with FCR candidate I
           (.6) and II (.4) and follow-up
           correspondence internally re: same (.2)
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ATTORNEY   DESCRIPTION                                   HOURS                AMOUNT

01/04/22   Examine Documents                               .40                376.00
  JSF      Draft Joint Interest Agreement with TCC 2


01/04/22   Conference call(s)                              .50                735.00
  MLC      Conference call meeting with FCR Candidate
           # 4 with Molton and Reichart


01/04/22   Correspondence                                  .20                 95.00
  MRM      E-mail correspondence with potential FCR
           candidate re: conflicts list


01/05/22   Examine Documents                               .50                470.00
  JSF      Review Arnold & Itkin Objection to
           Reconstitution of Committee


01/05/22   Analysis of Legal Papers                        .30                258.00
   JB      Review motion to disband committee


01/05/22   Review Documents                                .20                 69.00
  JKH      Review transcripts from recent hearings


01/06/22   Analysis of Legal Papers                        .20                172.00
   JB      Review emails re: Canadian counsel
           retention for foreign recognition
           proceeding


01/06/22   Review Documents                               1.50                517.50
  JKH      Review of docket and documents in
           preparation for Nov. 11 hearing
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ATTORNEY   DESCRIPTION                                   HOURS                AMOUNT

01/07/22   Examine Documents                               .20                172.00
   JB      Review agrenda for hearing and status


01/07/22   Conference call(s)                              .50                735.00
  MLC      Conference call with FCR candidate C


01/07/22   Correspondence                                  .20                 69.00
  JKH      Schedule appearances for upcoming hearings
           and status conferences


01/07/22   Telephone Call(s)                               .60                285.00
  MRM      Host and participate in Zoom meeting with
           potential FCR candidate VI


01/09/22   Examine Documents                               .20                172.00
   JB      Review limited objection to motion to
           reconstitute committee and co-counsel
           comments


01/09/22   Review Documents                                .90              1,323.00
  MLC      Review of draft objection to debtor motion
           re: committees


01/09/22   Review Documents                                .30                441.00
  MLC      Review of letter to court re HL retention
           and need for interim order


01/10/22   Examine Documents                               .20                188.00
  JSF      Review Statement of TCCI re:
           Reconstitution of Committees
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ATTORNEY   DESCRIPTION                                   HOURS                AMOUNT

01/10/22   Analysis of Legal Papers                        .20                172.00
   JB      Agenda for 1-11 hearing and logisitcis


01/11/22   Attendance at Court                            3.50              5,145.00
  MLC      Appearance at hearing (lift stay; HL and
           FTI retentions)


01/11/22   Revision of Documents                           .60                882.00
  MLC      Review and revision to draft stipulation
           re: substitution of parties


01/11/22   Preparation of e-mail(s)                        .80                380.00
  MRM      Prepare emails to FCR candidates re:
           updated appointment protocol


01/12/22   Analysis of Legal Papers                        .20                172.00
   JB      UST objections to discovery demands in
           connection with motion to reconstitute
           committees


01/12/22   Analysis of Legal Papers                        .20                172.00
   JB      Review draft TCC1 objection to LTL motion
           to reconstitute committees


01/12/22   Conference call(s)                              .80              1,176.00
  MLC      Conference call meeting with potential FA


01/12/22   Correspondence                                  .40                138.00
  JKH      Schedule court appearances for motion to
           dismiss status conference and Jan. 19
           hearing
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01/13/22   Examine Documents                               .20                188.00
  JSF      Review of Correspondence with Court re:
           Discovery Requests to UST re: Committee
           Formation


01/13/22   Examine Documents                               .30                282.00
  JSF      Review of Draft Pleading of TCC re:
           Reconstitution of Committees


01/13/22   Analysis of Legal Papers                        .30                258.00
   JB      TCC2 objection to committee reconstitution


01/13/22   Analysis of Legal Papers                        .20                172.00
   JB      Letters to Court re: disputes between
           LTL/UST on discovery related to LTL motion
           to reconstitute committee


01/13/22   Revision of Documents                           .70              1,029.00
  MLC      Review and revisions to draft of opposition
           to motion to reconstitute committees


01/13/22   Review Documents                                .60                882.00
  MLC      Review of TCC II draft of opposition to
           court re motion to reconstitute committees


01/13/22   Review/correct Opposing brief for motion        .50                522.50
  ACS      Review and edit draft TCC1 objection to
           Debtor’s motion to reconstitute TCC


01/13/22   Review Documents                                .40                138.00
  JKH      Review committee update/summary timeline
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ATTORNEY   DESCRIPTION                                   HOURS                AMOUNT

01/13/22   Review Documents                                .30                142.50
  MRM      Review revised FCR protocol order


01/14/22   Examine Documents                               .50                470.00
  JSF      Review of Updated Statement to Court re:
           Committee Formation and Motion to
           Reconstitute


01/14/22   Examine Documents                               .40                376.00
  JSF      Review of TCC II Objection to Motion to
           Reform Committee


01/14/22   Examine Documents                               .30                282.00
  JSF      Review of TCC I Objection to Debtor's
           Motion to Reinstate Committee


01/14/22   Examine Documents                               .20                172.00
   JB      Motion to quash subpoan


01/14/22   Analysis of Legal Papers                        .30                258.00
   JB      Revised objection to motion to
           reconstitute committee


01/14/22   Analysis of Legal Papers                        .30                258.00
   JB      UST objection to motion to reconstitute
           committee


01/14/22   Conference call(s)                              .80              1,176.00
  MLC      Conference call to interview FA applicant
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01/14/22   Conference call(s)                              .80              1,176.00
  MLC      Conference call to interview another FA
           applicant


01/14/22   Review/correct Opposing brief for motion        .20                209.00
  ACS      Further review and edit objection to
           Debtor’s motion to reconstitute committee


01/14/22   Review Documents                                .50                237.50
  MRM      Review draft opposition to Debtor's
           committee reconstitution motion


01/17/22   Analysis of Legal Papers                        .20                172.00
   JB      Reply in further support of motion to
           vacate appointment of 2d committee


01/18/22   Analysis of Legal Papers                        .40                344.00
   JB      LTL reply to US Trustee


01/18/22   Examine Documents                               .10                 86.00
   JB      Order quashing subpoena to US Trustee


01/18/22   Preparation for Court                          2.10              3,087.00
  MLC      Prepare for hearing on committee
           reconstitution motion


01/18/22   Analysis of Reply brief for motion              .80                836.00
  ACS      Review LTL and A&I replies on committee
           reconstitution motions
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01/18/22   Review Documents                                .20                 69.00
  JKH      Review email with contact information for
           Canadian counsel and update roster


01/19/22   Telephone Call(s)                              2.60              2,444.00
  JSF      Participate in Hearing re: Reconstitution
           of TCC


01/19/22   Telephone Call(s)                               .50                470.00
  JSF      Call with Co-Counsel re: Reconstitution of
           Committee


01/19/22   Attendance at Conference                        .40                344.00
   JB      Portion of hearing re: motion to disband
           TCC2


01/19/22   Conference call(s)                             2.50              3,675.00
  MLC      Court hearing on issue of committee
           reconstitution


01/19/22   Telephone Call(s) w/Court                      2.40              2,508.00
  ACS      Appear on Court Solutions at hearing on
           reunification of Committee


01/19/22   Telephone Call(s) w/CoCounsel - Other           .80                836.00
  ACS      Follow up call with TCC 1 Co-counsel re
           Court ruling on Committee reunification


01/19/22   Review Documents                                .60                207.00
  JKH      Review opinion re: committees
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01/19/22   Correspondence                                  .20                 69.00
  JKH      Schedule appearances for court conference
           re: committee opinion


01/19/22   Review Documents                                .70                241.50
  JKH      Review documents for retention hearing


01/19/22   Telephone Call(s)                               .50                237.50
  MRM      Participate in TCC 1 counsel call re:
           ruling on committee reconstitution/next
           steps


01/19/22   Attendance at Hearing                           .70                332.50
  MRM      Monitor hearing on Debtor's motion to void
           committee reconstitution


01/20/22   Telephone Call(s)                               .20                188.00
  JSF      Call with Co-Counsel re: Joint Interest
           Agreements


01/20/22   Examine Documents                               .80                752.00
  JSF      Review and Analysis of Court's Opinion re:
           Talc Committees


01/20/22   Examine Documents                               .70                658.00
  JSF      Review of Joint Interest Agreement


01/20/22   Analysis of Legal Papers                        .20                172.00
   JB      Review final joint interest
           agreement/comments
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01/20/22   Review Documents                               1.50              2,205.00
  MLC      Review and analysis of transcript from
           January 19 hearing


01/20/22   Correspondence                                  .20                294.00
  MLC      Correspondence re: Court chambers
           conference on January 21


01/20/22   Correspondence                                  .20                 69.00
  JKH      Review email with additional contacts and
           update roster


01/21/22   Analysis of Legal Papers                        .20                172.00
   JB      Review joint stipulation TCC1 and TCC2 re:
           standing in cases


01/21/22   Examine Documents                               .20                172.00
   JB      Review agenda for hearing


01/21/22   Conference call(s)                              .90              1,323.00
  MLC      Chambers conference re: January 19 hearing
           with counsel


01/21/22   Correspondence                                  .40                138.00
  JKH      Arrange court appearances for hearings
           week of Jan. 24


01/21/22   Review Documents                               1.60                552.00
  JKH      Review responses and replies re: retention
           applications
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01/23/22   Telephone Call(s)                               .30                441.00
  MLC      Telephone call with David Molton re:
           retention application hearing


01/24/22   Examine Documents                               .50                470.00
  JSF      Review Common Interest Agreement with TCC
           II


01/24/22   Analysis of Legal Papers                        .20                172.00
   JB      Final comments to common interest
           agreement between TCC1 and TCC2


01/24/22   Conference call(s)                              .40                588.00
  MLC      Conference call with Stark and Stolz in
           preparation for hearing re: retention
           applications


01/24/22   Preparation for Court                          1.10              1,617.00
  MLC      Prepared for hearing re: retention
           applications


01/25/22   Telephone Call(s)                              1.40              1,316.00
  JSF      Participate in Hearing re: Retention
           Applications


01/25/22   Analysis of Legal Papers                        .20                172.00
   JB      Review final common interest agreement
           between TCC1/TCC2
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01/25/22   Review Documents                                .90              1,323.00
  MLC      Review of FCR protocol process to prepare
           for next steps


01/25/22   Correspondence                                  .70                332.50
  MRM      Correspondence with MLC re: revised FCR
           protocol/candidate status


01/26/22   Examine Documents                               .30                282.00
  JSF      Review of Order re: Procedures for
           Selection of FCR


01/26/22   Examine Documents                               .20                188.00
  JSF      Review of Order re: Committee
           Reconstitution


01/26/22   Review Documents                                .50                735.00
  MLC      Review of draft proposed order concerning
           two committees


01/26/22   Revision of Documents                           .70              1,029.00
  MLC      Review of and comment upon draft retention
           papers for Brattle


01/26/22   Review Documents                                .20                 69.00
  JKH      Review scheduling order re: FCR


01/27/22   Telephone Call(s)                               .40                588.00
  MLC      Telephone call with Sunni Beville re:
           Brattle retention engagement papers
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01/27/22   Review Documents                                .90              1,323.00
  MLC      Review of draft Brattle retention
           engagement papers


01/27/22   Correspondence                                  .60                882.00
  MLC      Correspondence with FCR potential
           candidates


01/27/22   Review Documents                                .30                103.50
  JKH      Review order appointing committee and
           respond to email inquiry


01/27/22   Prepare for Meeting                             .40                190.00
  MRM      Coordinate additional FCR candidate
           meetings and circulate invites for same


01/28/22   Examine Documents                               .30                282.00
  JSF      Review of Brattle Retention Application


01/31/22   Telephone Call(s)                              1.00                475.00
  MRM      Call with L. Reichardt re: FCR selection
           process and follow-up call with MLC re:
           same


01/31/22   Prepare Papers                                 2.60              1,235.00
  MRM      Prepare materials for internal review in
           connection with FCR candidate nomination
           process
    Case 21-30589-MBK Doc 1527-2 Filed 02/18/22 Entered 02/18/22 12:33:02    Desc
                Exhibit B-Statement of Time and Expenses Page 72 of 73

                                O TTERBOURG P . C .
                                  230 PARK AVENUE
                               NEW YORK, NY 10169-0075


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  DATE
ATTORNEY   DESCRIPTION                                    HOURS                 AMOUNT

01/31/22   Telephone Call(s)                               1.80                 855.00
  MRM      Participate in FCR candidate meetings for
           candidates



TOTAL PHASE 45                                            64.90             $65,209.50

                                                   TOTAL FOR SERVICES       $505,309.00
                                                   LESS 20% HOLDBACK     -$101,061.80

                                                  TOTAL FEES REQUESTED      $404,247.20
                                                  (80%)
    Case 21-30589-MBK Doc 1527-2 Filed 02/18/22 Entered 02/18/22 12:33:02   Desc
                Exhibit B-Statement of Time and Expenses Page 73 of 73

                                 O TTERBOURG P . C .
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DISBURSEMENTS FOR YOUR ACCOUNT


     Conference Call(s)                                                        650.00

     Electronic Research                                                       952.59

     Transportation                                                            184.49
                                                                       __________________

                                           TOTAL DISBURSEMENTS              1,787.08


                                          TOTAL:                        $507,096.08

                                          LESS 20% HOLDBACK:            -$101,061.80

                                          TOTAL REQUESTED THIS          $406,034.28
                                          STATEMENT:
